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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      C.A. No. 20-_____ (___)
DELAWARE BSA, LLC,1
                                                               Bank. Case Nos. 20-10343(LSS)
                           Debtors.
                                                               Jointly Administered




DEBTORS’ MOTION TO STAY BRIEFING ON THEIR MOTION TO FIX VENUE FOR
 CLAIMS RELATED TO BANKRUPTCY UNDER 28 U.S.C. §§ 157(b)(5) AND 1334(b)

         The Boy Scouts of America (the “BSA”) and Delaware BSA, LLC, the non-profit

corporations that are the debtors and debtors in possession (collectively, “the “Debtors”) in the

above-captioned bankruptcy case pending in the United States Bankruptcy Court for the District

of Delaware (the “Bankruptcy Court”), hereby move (the “Motion”) for entry of an order

staying the briefing schedule for Debtors’ Motion to Fix Venue for Claims Related To

Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b). (the “Transfer Motion”). The Debtors

bring this motion to centralize the claims brought against them in a single forum, as

contemplated by the Bankruptcy Code and applicable federal law, in order to facilitate the

negotiation and confirmation of a consensual plan of reorganization that would treat claimants

equitably and allow for a swift exit from bankruptcy for the Debtors. In order to allow the

parties adequate time to negotiate and propose such a plan, and to avoid burdensome, expensive

and time-consuming litigation during that period, the Debtors seek to defer the Court’s

consideration of this motion and extend the briefing schedule as set forth below.

1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.

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           1.   On February 18, 2020, Debtors each filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the Bankruptcy

Court. The chapter 11 cases are being jointly administered under the caption, In re: Boy Scouts of

America and Delaware BSA, LLC, Bankr. Case No. 20-10343.

           2.   Also on February 18, 2020, Debtors commenced an adversary proceeding (the

“Adversary Proceeding”) in the Bankruptcy Court by filing a Verified Complaint for Injunctive

Relief (the “Adversary Complaint”) (Adv. Proc. Case No. 20-50527, Adv. Dkt. No. 1) pursuant

to Bankruptcy Rules 7001(7) and 7065 and sections 105(a) and 362 of the Bankruptcy Code. In

the Adversary Proceeding, Debtors have filed a Motion for a Preliminary Injunction pursuant to

Sections 105(a) and 362 of the Bankruptcy Code (Adv. Dkt. No. 6, the “PI Motion”), seeking to

extend the automatic stay imposed by section 362 of the Bankruptcy Code to certain non-debtor

parties.

           3.   The PI Motion is scheduled for hearing on March 24, 2020, in the Bankruptcy

Court. If granted, the proposed order granting the PI Motion (the “Order”) would extend the

automatic stay applicable to the BSA to certain non-debtor defendants named as parties in

approximately 275 pending personal injury claims (collectively, the “Pending Abuse Actions”)

until August 17, 2020 (180 days from the commencement of the BSA’s chapter 11 case), or as

may be otherwise ordered or extended by order of the Delaware Bankruptcy Court.

           4.   On March 2, 2015, Debtors commenced this action for miscellaneous relief and

filed the Transfer Motion, which requests that the Pending Abuse Actions be transferred and

consolidated in this Court pursuant to 28 U.S.C. §§ 157(b)(5) and 1334(b). Debtors 28 U.S.C. §§

157(b)(5) and 1334(b). Pursuant to D. Del. LR 7.1.2(b), Defendants’ answering brief in response




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to the Transfer Motion is due on March 16, 2020, and Debtors’ reply brief is due seven days

thereafter, on March 23, 2020.

       5.     In the interest of judicial economy, Debtors respectfully request that all briefing

related to the Transfer Motion be stayed and that the Court set a status conference on the Motion

following the hearing on the PI Motion in the Bankruptcy Court. The requested stay will both

allow the bankruptcy court time to issue a decision on Debtors’ PI Motion and allow time for the

formation of the creditors’ committees in the bankruptcy proceedings and the time necessary for

the Debtors and such committees to negotiate and formulate a consensual chapter 11 plan of

reorganization.

       WHEREFORE, the Debtors respectfully request that the Court grant the instant motion

and stay all briefing related to the Debtors’ Nationwide Transfer Motion filed under 28 U.S.C.

§§ 157(b)(5) and 1334(b).




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                                Exhibit A

                             Proposed Order
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE



In re:                                                       Chapter 11

BOY SCOUTS OF AMERICA AND                                    C.A. No. 20-_____ (___)
DELAWARE BSA, LLC,1
                                                             Bankr. Case No. 20-10343(LSS)
                           Debtors.
                                                             Jointly Administered




         ORDER GRANTING DEBTORS’ MOTION TO STAY BRIEFING ON THEIR
                MOTION TO FIX VENUE FOR CLAIMS RELATED TO
               BANKRUPTCY UNDER 28 U.S.C. §§ 157(b)(5) AND 1334(b)

          Upon the Boy Scouts of America and Delaware BSA, LLC’s (collectively, the “Debtors”)

Motion to Stay Briefing on Their Motion for Nationwide Transfer Pursuant to 28 U.S.C. §§

157(b)(5) and 1334(b) (the “Motion”)2; and the Court having jurisdiction to consider the Motion

and the relief requested therein pursuant to 28 U.S.C. § 1334; and venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having

been provided under the circumstances, and it appearing that no other or further notice need be

provided; and the Court having determined that the legal and factual bases set forth in the

Motion, establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court and after due deliberation and sufficient cause appearing therefor, IT IS

HEREBY ORDERED THAT:

1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.
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         1.    The Motion is granted as set forth herein.

         2.    All briefing on Debtors’ Transfer Motion shall be stayed pending a status

               conference with the Court to be held following the Bankruptcy Court’s hearing on

               the PI Motion.

         3.    The Court shall retain jurisdiction over any matter or dispute arising from or

               relating to the implementation, interpretation, or enforcement of this Order.



Dated:                   , 2020
         Wilmington, Delaware


                                                            UNITED STATES DISTRICT JUDGE




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